   Case 2:10-md-02179-CJB-DPC Document 8248-1 Filed 01/15/13 Page 1 of 1


                                          EXHIBIT A

Notice Administrator for U.S. District Court

F-Name MI L-Name
Street Address 1
Street Address 2
City, ST Zip

The District Court entered an Order of Final Approval of the Economic and Property Damages
Class Action Settlement Agreement on December 21, 2012. This included approval of the
Seafood Compensation Program.

The public records indicate you may have a potential Seafood Compensation Program claim as
the holder of Oyster Leasehold interest registered with the State of Louisiana.

This is a reminder that the deadline for filing an Oyster Leasehold interest claim is January 22,
2013.

Under the Seafood Compensation Program, claims by Commercial Fishermen, Seafood Boat
Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood Vessel Owners for
economic loss relating to Seafood are subject to the deadline of January 22, 2013. Oyster
Leaseholder Interest and Finfish Individual Fishing Quota Interest claims are included in the
Seafood Compensation Program's $2.3 billion distribution plan.

If you have not filed a claim and would like to do so, time is of the essence. If you are
represented by an attorney, you should consult your attorney before filing a claim. If you have
already filed a claim, you can check on the status of your claim with the Deepwater Horizon
Claims Center.

You can file a claim form online at www.deepwaterhorizoneconomicsettlement.com or by
visiting a Claimant Assistance Center (a list of their locations and hours in available on that
website). You also can call the Deepwater Horizon Claims Center at 1-866-992-6174 for help,
or email the Center at questions@DeepwaterHorizonEconomicSettlement.com.

Sincerely,



Notice Administrator

              Para obtener una notificación en español, póngase en contacto con
              nosotros o visite nuestro sitio web DeepwaterHorizonSettlements.com.



             Ñeå ñöôïc thoâng baùo baèng tieáng Vieät, xin goïi ñieän thoaïi hoaëc vaøo
                          trang maïng DeepwaterHorizonSettlements.com.


        Questions? Visit DeepwaterHorizonSettlements.com or call 1-866-992-6174.
